   In The Matter Of:
 Selena Howard, et al. v
  Forrest County, et al.




       Blake Smith
      April 27, 2020




                                B


Min-U-Script® with Word Index
                                                                                                        Blake Smith

                                                  Page 1                                                         Page 3
 1          IN THE UNITED STATES DISTRICT COURT             1                         * * * * * *
          FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
 2                       EASTERN DIVISION                   2                      TABLE OF CONTENTS
 3 SELENA HOWARD, DARIOUS LEGGETT; AND                      3   Appearances                                  2
   ANTRINET LEGGETT                          PLAINTIFFS
 4                                                          4   Examination by Mr. Waide                     4
   VERSUS                          NO. 2:19-CV-84-KS-MTP
 5                                                          5   Examination by Ms. Smith                   29
   FORREST COUNTY; CHEY SUMRALL
 6 INDIVIDUALLY AND IN HIS                                  6   Examination by Mr. Waide                   34
   OFFICIAL CAPACITY; BLAKE BASS,
 7 INDIVIDUALLY AND IN HIS OFFICIAL                         7   Conclusion of Deposition                   36
   CAPACITY                                 DEFENDANTS
 8                                                          8   Certificate of Reporter                    37
 9 ***************************************************      9   Certificate of Deponent                    38
10                                                         10   Correction Sheet                           39
                  DEPOSITION OF BLAKE SMITH
11                VIA ZOOM VIDEO CONFERENCE                11
12                                                         12
   ****************************************************
13                                                         13
14                 APPEARANCES NOTED HEREIN                14
15                                                         15
                     DATE: APRIL 27, 2020
16              PLACE: ZOOM VIDEO CONFERENCE               16
                       TIME: 2:48 p.m.
17                                                         17
18                                                         18
19                                                         19
   REPORTED BY: AMANDA MAGEE WOOTTON
20                CSR #1238                                20
21 ________________________________________________        21
22                                                         22
                        AW Reporting
23                 amanda@awreporting.net                  23
                   338 Indian Gate Circle
24              Ridgeland, Mississippi 39157               24
                         601.573.0961
25                                                         25

                                                  Page 2                                                         Page 4
 1 APPEARANCES VIA ZOOM VIDEO CONFERENCE:
                                                            1              * * * * * *
 2
                                                            2               BLAKE SMITH,
 3           Christina Smith, Esquire
             Allen, Allen, Breeland & Allen                 3 after having first been duly sworn, was
 4           Post Office Box 751
             Brookhaven, Mississippi                        4 examined and testified under oath as follows,
 5           csmith@aabalegal.com
                                                            5 to-wit:
 6                                                          6            EXAMINATION
             Daniel M. Waide, Esquire
 7           Johnson, Ratliff & Waide, PLLC
                                                            7 EXAMINATION BY MR. WAIDE:
             P. O. Box 17738
 8           Hattiesburg, Ms 39404                          8    Q Would you give your name for the record,
             dwaide@jhrlaw.net
 9                                                          9 please, sir.
10           Mary Lee Holmes, Esquire                      10    A Blake Smith.
             Holmes, McLelland & Ferraez, PLLC
11           601 E Central Avenue                          11    Q All right. Now, Blake, is your last name
             Petal, Mississippi 39465-2974
12           marylee@hmflawfirm.com                        12 not Bass?
13                                                         13    A Not anymore, as of January.
14                                                         14    Q Oh, okay. I just want to be sure you're the
15                                                         15 right guy because I was about to begin --
16                                                         16    A Yeah. Yeah. I changed it.
17                                                         17    Q All right. Well, my name is Daniel Waide.
18                                                         18 I think we've met once before. I asked you some
19                                                         19 questions under oath in justice court. Now, have you
20                                                         20 ever given a deposition before?
21 _____________________________________________________   21    A I have not.
22                   AMANDA MAGEE WOOTTON                  22    Q All right. Well, you obviously have
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23                  338 Indian Gate Circle                 23 testified under oath before, right?
                Ridgeland, Mississippi 39157
24                      (601) 898-9990                     24    A Correct.
25                                                         25    Q Okay. All right. Now, are you currently

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                                                   Page 5                                                      Page 7

 1 employed in law enforcement?                              1      Q Were you in your own car?
 2    A I'm not. I'm just a part-time officer,               2      A Correct.
 3 reserve.                                                  3      Q Okay. All right. And as I understand it,
 4    Q Okay. Is that still with Forrest County?             4   none of the cars back then had dash cams, right?
 5    A Correct.                                             5      A Correct. None of them.
 6    Q All right. And you also have, like, a tow            6      Q All right. And no body cams either, right?
 7 truck business or something now?                          7      A No, sir.
 8    A It is my dad. I'm employed by him.                   8      Q Okay. All right. Now, how much time passed
 9    Q Okay. And have you been doing that since             9   between when y'all talked to the girl at the gas
10 going part-time with Forrest County?                     10   station to when y'all go to the house?
11    A Correct.                                            11      A It is maybe two miles up the road. Not
12    Q All right. Now, give me your background in          12   long. We went straight from there to the house.
13 law enforcement.                                         13      Q All right. Did you know the young girl who
14    A I believe in August of 2016, I am a reserve,        14   brought the information to Chey's attention?
15 after turning 21, and started working at the jail.       15      A Correct. She went to school with me and
16 And then in January of 2017, I got hired on full-time    16   Darious. I think she graduated with me.
17 to be a warrants officer. And then April through June    17      Q Okay. And I know Chey spelled it for me. I
18 of 2017, I went through the academy and then started     18   just want to check. Do you know how she spells her
19 patrol after that June 15th graduating the academy.      19   last name?
20 And then all the way up to last April, I was full-time   20      A R-Y-A-L-S, I want to say.
21 patrol deputy.                                           21      Q Okay. Is there a Ryals who works for the
22    Q And that's all been with Forrest County?            22   sheriff's department? I may be getting the wrong
23    A Correct.                                            23   department in mind.
24    Q Okay. And I know we always say the academy          24      A I don't know. There was. I mean, the
25 or something like that. What academy did you go to,      25   number two man, I want to say, but I don't know.

                                                   Page 6                                                      Page 8

 1 or police training?                                       1    Q Okay. I just didn't know if they were
 2    A The -- the one down in Camp Shelby.                  2 related or if it was -- if you knew.
 3    Q Okay. How long did that take?                        3    A No.
 4    A It went from April to June.                          4    Q All right. So what do you remember
 5    Q Okay. And I know -- give me a little bit --          5 happening when y'all first pulled onto the property
 6 or just give me your educational background too,          6 where Selena and Darious live?
 7 please.                                                   7    A We saw a malnourished dog tied to a tree, in
 8    A Graduated from Forrest County Agriculture            8 my opinion. The dog was very skinny and didn't have
 9 High School in 2014 with a diploma, and did some          9 no food or water. So that's when -- I believe when
10 college at Pearl River Community College, and then       10 Chey -- Darious did come out, so -- and then that's
11 that's when I went to the academy.                       11 when Chey started the investigation, as far as I did
12    Q Okay. All right. And I understand while             12 too, and so it went from there.
13 you were at Forrest County, y'all won the state          13    Q Okay. Now, other than what they teach you
14 championship, right?                                     14 at the law enforcement academy just about animal
15    A Correct.                                            15 welfare, did you have any other training about what
16    Q And you and Darious were on the same team?          16 constitutes animal abuse or violations of the law in
17    A Correct, we were.                                   17 Mississippi?
18    Q All right. Now, whenever y'all -- you and           18    A Other than the academy, no.
19 Chey received a call for -- about an animal check at     19    Q What do you remember about the course you
20 the house where Darious and Selena live, kind of tell    20 had at the academy?
21 me how you came to get the information regarding the     21    A I don't remember a lot.
22 dogs at the house.                                       22    Q Okay. And at the time that y'all went to
23    A Chey actually got the information. I went           23 the house where Selena and Darious were, how long had
24 along with him to assist on the call because of the      24 you been a full-time certified officer?
25 dog's well-being and the welfare of the dogs, or dog.    25    A I graduated in June, so this is in September

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                                                    Page 9                                                       Page 11

 1 so...                                                      1      Q Proper procedure, you don't just go looking
 2    Q Okay. A few months?                                   2   around at a property without checking to see if
 3    A Yeah.                                                 3   there's somebody in the house who, for instance, could
 4    Q All right. And I know I've kind of already            4   be a danger, right?
 5 asked you this, but I always ask just to be sure.          5      A Well, the dog was right there, so...
 6 Between June and September, had you had any additional     6      Q How far from the house was the dog?
 7 training on animal welfare?                                7      A A couple of yards, if that.
 8    A No, I haven't.                                        8      Q Okay. Do you remember who the first person
 9    Q Now, at some point in time, you did have              9   y'all made contact with was?
10 some taser training, though, right?                       10      A I don't. I don't recall.
11    A Correct.                                             11      Q When you get out and you're looking at the
12    Q Did you get that at the academy or with              12   dog, tell me what happens once y'all are out there by
13 Forrest County?                                           13   the dog.
14    A Both.                                                14      A I believe all of them came out. I want to
15    Q All right. And you had gotten a certificate          15   say all, Selena, Darious. I don't know if the mom was
16 for being taser trained?                                  16   out there yet. But I do remember the interaction with
17    A Correct.                                             17   all of them, and I remember -- like I say, it's been a
18    Q And as I understand it, you have to actually         18   few years back. I do remember Chey and Darious, him
19 be tased as part of the training, right?                  19   showing -- Darious was going to show Chey the food in
20    A Correct.                                             20   the house.
21    Q How enjoyable was that?                              21      Q Okay.
22    A It was part of the training.                         22      A And that's when it kind of went from there.
23    Q I understand that, but it is not an                  23      Q All right. Now, before we get to that
24 enjoyable experience, right?                              24   point, had either one of you asked for the dog to be
25    A I mean, it is part of the training.                  25   taken off the tree?

                                                   Page 10                                                       Page 12

 1      Q I understand, but would you want to be              1     A I did not.
 2   tased?                                                   2     Q Okay. Do you know -- was the dog taken off
 3      A I've gotten tased since then. Part of the           3 the tree?
 4   training, so...                                          4     A I don't recall. I can't remember that, no.
 5      Q I understand. But would you go to somebody          5     Q Okay. Now, when Chey and Darious -- they
 6   and ask, just for fun, Hey, tase me?                     6 were both on the porch with the bucket of food at some
 7      A No.                                                 7 point, correct?
 8      Q All right. And the -- I want to be sure I'm         8     A Darious brought the food out. Well, there
 9   clear. When y'all are pulling up to the house, who is    9 was no food in the bucket, but he did bring the food
10   the lead car, you or Chey?                              10 out of the house.
11      A Chey.                                              11     Q All right. Were you up on the porch, or was
12      Q All right. When did you first see the dog          12 it just Chey and Darious?
13   by the tree?                                            13     A Just Chey and Darious.
14      A When I exited my patrol car. As we were            14     Q Okay. All right. Where were you when they
15   pulling up, you could see it off on the tree.           15 were on the porch?
16      Q All right. And did y'all go to the tree            16     A Just below the steps. I was -- I was over
17   before you made contact with anybody in the house?      17 there by Selena.
18      A I don't recall. I don't -- I don't think --        18     Q Okay. And so roughly how far away were you
19   I don't -- I don't remember anybody coming out at       19 from the doorway?
20   first. I don't really recall.                           20     A A few feet. I mean, it was a step up and
21      Q All right. Well, now, would it be true,            21 then on the porch. So, I mean, a few feet. I could
22   though, that proper procedure would have required       22 hear -- I could -- I know what they were saying, I
23   y'all to make sure whether or not anybody is in the     23 guess you could say.
24   house before you begin investigating a property?        24     Q Okay. And what were you doing while they
25      A Say the question again.                            25 were on the porch?


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                                                  Page 13                                                       Page 15

 1      A Watching them.                                     1   towards Chey?
 2      Q Okay.                                              2      A Towards Chey? He -- he did not want him to
 3      A Assisting.                                         3   arrest him for sure.
 4      Q All right. And do you know what Selena and         4      Q Okay. I understand that. And nobody wants
 5   Ms. Antrinet Leggett were doing?                        5   to be arrested, but --
 6      A I don't recall, no. I want to say Selena           6      A Oh, yeah. Correct.
 7   was standing right beside me, if I'm not mistaken.      7      Q -- did he ever make any threats towards
 8      Q I know you know Darious from football days.        8   Chey?
 9   Did you know Selena before this?                        9      A I don't recall.
10      A Correct. Yeah. They dated all throughout          10      Q Okay. Now, you're actually the one who
11   high school.                                           11   deployed your taser with Darious, correct?
12      Q And you knew them from Forrest County?            12      A Correct.
13      A Correct.                                          13      Q All right. At the time you deployed your
14      Q Okay. Forrest County Ag High School, I            14   taser, what was Chey doing?
15   guess, to be more specific?                            15      A Trying to put cuffs on.
16      A Yeah.                                             16      Q Okay. I know you say trying to put cuffs on
17      Q Had you ever known Ms. Antrinet Leggett?          17   but can you be a little more descriptive?
18      A I do not. No.                                     18      A Well, he was trying to get his hand around,
19      Q Okay. Were you involved with the stop that        19   and I remember the mother actually was coming over
20   Chey Sumrall had with her about a month prior?         20   there and trying to push Chey as well. So -- and I
21      A I did assist him but he had already arrested      21   was in the middle, and then Darious, I remember him
22   her, and I stood by for the tow truck.                 22   actually swinging as we were giving verbal commands
23      Q Okay. That wasn't your dad's tow truck, was       23   to, "Stop, put your hands behind your back." And then
24   it?                                                    24   that's when I stepped back and I tased him. It was a
25      A No. No.                                           25   quick motion because of him actually trying to use

                                                  Page 14                                                       Page 16

 1    Q Okay. All right. Now, what do you remember           1   physical altercations with Chey.
 2 happening after Darious brings the food bucket out?       2      Q Blake, you understand there's been
 3    A Well, he was very aggressive, and I do               3   affidavits and incident reports, and that's the
 4 remember Chey was going to turn him around, and was       4   first -- even after justice court, that's the first
 5 going to -- well, attempted to arrest him, but he --      5   time anybody's said anything about swinging. Any
 6 he was not having it. And before I could even get up      6   reason for that?
 7 there, they -- I don't remember -- I don't remember --    7      A No, sir. I remember that. That's -- that's
 8 I can't remember how they got off the porch, but they     8   what I remember.
 9 were off the porch, and then it went from -- it went      9      Q Any reason why it is not in your incident
10 from there. He did not -- he was very resistive and      10   report?
11 verbal, as far as his, you know -- so...                 11      A It should have been, him being aggressive.
12    Q Did you ever make it up onto the porch              12      Q Any reason why you didn't talk about Darious
13 before they got down?                                    13   swinging when you testified in justice court?
14    A I don't -- I don't remember. I don't think          14      A I believe I did.
15 so, no.                                                  15      Q Okay. Now, before you deployed your taser,
16    Q Okay. Now, when you say that he was very            16   did you give any commands or warnings?
17 verbal, what are you talking about?                      17      A We're trained to, yes, sir, so I believe I
18    A Yelling and cussing.                                18   did. Like I said, it's been three years, two years
19    Q Okay. What was he saying?                           19   ago.
20    A I don't recall. I just know -- I do know he         20      Q Well, I know you're trained to, but do you
21 was yelling and cussing.                                 21   remember whether or not you did?
22    Q Did he ever make -- did Darious ever make           22      A I don't.
23 any threats towards you?                                 23      Q Do you remember whether or not Mr. Sumrall
24    A No.                                                 24   had tried any techniques for someone who is being
25    Q Did he ever make any threats that you heard         25   resistant before the taser was deployed?

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                                                 Page 17                                                     Page 19

 1    A I don't recall, but Darious is a very large         1 take it off if you want to -- you know, dry taser, you
 2 individual.                                              2 know, so it's already on. The taser is already -- I
 3    Q Okay. Well, you're not too skimpy yourself          3 mean, it is already -- all you've got to do is switch
 4 there, Blake, so I was just curious. Did Chey,           4 a -- switch it on to make it actually fire, you know.
 5 though, try any techniques prior to you deploying --     5    Q Okay. And how much time passed between the
 6    A I don't recall. I don't recall.                     6 time that you stepped back and the time you fired your
 7    Q All right. And what verbal commands had             7 taser?
 8 been given to Darious before you deployed your taser?    8    A It was seconds.
 9    A Stop resisting.                                     9    Q All right. And how many times have you
10    Q Okay. Who gave that command?                       10 deployed your taser previously?
11    A I believe -- I know I did several times.           11    A I do not know.
12    Q When did you give that command?                    12    Q Had you deployed your taser previously?
13    A When he -- when he was telling -- when Chey        13    A That day or that -- I mean --
14 was trying to arrest him.                               14    Q In the three months that you were a
15    Q Okay. You never actually tried to place            15 full-time certified officer, how many times had you
16 Darious under arrest, correct?                          16 had to use your taser on a suspect?
17    A Correct.                                           17    A I do not know that answer.
18    Q Okay. And then after you deployed your             18    Q Had you used it on a suspect previously?
19 taser, Chey is the one who actually put the handcuffs   19    A I know I have. I just don't know how many
20 on Darious, right?                                      20 times, sir, or what.
21    A Correct.                                           21    Q And when you do your taser training, what
22    Q All right. How far away were you from              22 does that entail?
23 Darious when you deployed your taser?                   23    A Training? Training during the academy and
24    A It wasn't -- it wasn't far.                        24 when I actually got trained?
25    Q Okay. Your report said about five feet.            25    Q Yes, sir. I mean, when you do your taser

                                                 Page 18                                                     Page 20

 1   Does that sound about right?                           1   training, just tell me -- both at the academy and
 2      A I don't know what my report said right            2   Forrest County, tell me what that was about.
 3   offhand.                                               3       A You have to watch a video, and, like, during
 4      Q Well, would that sound about right, or do         4   the academy we watched a video, and then several
 5   you think it would be more or less?                    5   different individuals actually got tased. And we had
 6      A I don't know.                                     6   to learn how to take them out and put them all back
 7      Q Okay. And you've been trained on how to use       7   and how to do an incident report. Same with Chris
 8   your taser, right?                                     8   Selman, and you actually get tased with him too.
 9      A Correct.                                          9       Q Okay. But I mean, you actually learn how to
10      Q All right. Now, prior to -- you say Darious      10   shoot the taser, right?
11   swung. Who did he swing at?                           11       A Correct.
12      A Chey.                                            12       Q Okay. How many times in training -- how
13      Q Okay. And I take it he didn't make any           13   many shots do you have to take with the taser?
14   contact with Chey?                                    14       A How many what?
15      A Correct.                                         15       Q How many times do you have to shoot the
16      Q All right. And how far away from Chey was        16   taser as part of your training?
17   Darious when you say he swung?                        17       A I know during the academy I didn't shoot it
18      A They were -- they were touching. I mean, it      18   none. During the training with Chris Selman, I shot
19   was very close proximity.                             19   it I want to say three times, two or three.
20      Q Okay. And when you stepped back, you pulled      20       Q Okay. Now, are these the tasers that have a
21   your taser out?                                       21   red dot -- a laser site on it to where it's got the
22      A Correct.                                         22   red dot where you're aiming?
23      Q Okay. And when you pulled your taser out,        23       A Yes, sir. You can have it on or you can
24   was the cartridge already loaded?                     24   have it off. It's got an option on it, the new one I
25      A When you pull it out, you actually have to       25   had.

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                                                  Page 21                                                     Page 23

 1    Q Blake, how tall are you?                             1    A I don't recall.
 2    A I am 5'6".                                           2    Q And after you had discharged your taser, did
 3    Q Okay. You're a little bit shorter than               3 you give your taser to Chey?
 4 Darious, right?                                           4    A I believe I threw it on the ground because
 5    A Yes, sir.                                            5 that's when I was going -- I went to place
 6    Q All right. And how much time -- before you           6 Ms. Antrinet, Ms. Leggett, under arrest for her
 7 deployed your taser, how long did you hold it before      7 getting in the middle of the fight and actually
 8 you actually -- after you had drawn the taser, how        8 pushing myself during -- me and Chey trying to arrest
 9 long were you holding the taser before you discharged     9 Darious. And I tried to keep her back, but...
10 it?                                                      10    Q Okay. Did you ever --
11    A It was seconds. I pulled it out and                 11    A I did give her verbal commands to step back
12 actually engaged it.                                     12 several times.
13    Q So you're saying you didn't take any time to        13    Q All right. Did you give those verbal
14 aim the taser?                                           14 commands before or after you tased Darious?
15    A When I pulled it out, I had the side -- I           15    A I don't recall after -- I don't know if I
16 did an actual side carry at that point, so when I        16 did after.
17 pulled it out and drew it and shot, yes, sir.            17    Q When you went to place Ms. Antrinet under
18    Q Okay. After Darious swung at -- you say             18 arrest, where was she?
19 that Darious swung at Chey. Where was Chey at that       19    A She was off to the side, I believe by a lawn
20 time?                                                    20 mower, in fact. I don't know why I remember a lawn
21    A Chey at the time that I tased?                      21 mower, but I do.
22    Q No. When Darious swung, where was he?               22    Q Was she on the ground or standing up?
23    A Wait, they were still -- I mean, he had one         23    A Standing up.
24 arm, if I'm not mistaken. But I do know they were        24    Q When you went to -- and you placed handcuffs
25 right at each other.                                     25 on Antrinet?


                                                  Page 22                                                     Page 24

 1    Q Okay. And you just -- you think that Chey            1    A I attempted. She is actually a larger human
 2 had an arm of Darious' at the time?                       2 being than I am as well, and I -- quite simply, I
 3    A I believe so. I don't -- I don't -- I don't          3 couldn't get the handcuffs on her. It took several
 4 remember.                                                 4 times.
 5    Q Okay. Right arm or left arm for Chey? I              5    Q All right.
 6 mean, did Chey have Darious' right or left arm?           6    A She was actually on the phone with somebody,
 7    A I don't recall. I don't know.                        7 if I'm not mistaken, while I was trying to put
 8    Q Okay. All right. But as I understand it, I           8 handcuffs on her.
 9 just want to be sure I get -- because obviously, most     9    Q And what was the -- why were you arresting
10 of the entire allegations are based on the tasing        10 Ms. Antrinet after Darious had been tased?
11 part, so we want to be sure we get as many facts as we   11    A Disorderly conduct. Disobeying a law
12 can.                                                     12 enforcement command.
13    A Correct. I understand.                              13    Q And what commands are you saying that
14    Q When you discharged the taser, where was            14 Ms. Antrinet did not obey?
15 Chey standing?                                           15    A I told her to step back several times during
16    A I want to say on the right of Darious.              16 the arrest of Darious Leggett.
17    Q Okay. And when you discharged the taser,            17    Q Okay. Did you tell her -- I think I already
18 was Darious facing you?                                  18 asked you this, but so I'm clear, did you tell her to
19    A I mean, from where I shot him, yes, he had          19 step back after he tased Darious?
20 to have been.                                            20    A I don't believe so. I don't know.
21    Q Okay. And what happened after you shot your         21    Q Okay. Did Ms. Antrinet ever make contact
22 taser?                                                   22 with you?
23    A He fell to the ground.                              23    A She did. She was -- I wouldn't say she was
24    Q Okay. And do you recall whether or not              24 actually pushed, pushed me, but I remember her getting
25 Darious was able to walk after being tasered?            25 in the middle of all what was happening with Darious.


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                                                                                                          Blake Smith

                                                   Page 25                                                    Page 27

 1   And I did -- I did try to push her off several times.    1    Q Okay. Did anybody ask who owned the dogs?
 2   But like I said, she's a larger human being than me.     2    A I don't recall if we did.
 3      Q Okay. When you pushed her, do you know              3    Q Okay.
 4   whether or not she fell to the ground?                   4           MR. WAIDE: Give me just a minute. I
 5      A No, she didn't. Like I said, she's larger           5 think we're about done, Blake. Let me just talk to my
 6   than me.                                                 6 clients real quick.
 7      Q Okay. All right. Now, Blake, what -- in             7           THE WITNESS: Okay.
 8   law enforcement, I mean, what is your primary --         8           (Off the record.)
 9   what's the number one goal for a law enforcement         9           MR. WAIDE: I've got a couple of more
10   officer?                                                10 questions and I'll be done. Are we back on?
11      A To serve the people of the county that you         11           COURT REPORTER: We are.
12   serve to -- (audio glitch) --                           12           MS. SMITH: I think they're still
13             COURT REPORTER: To what?                      13 muted.
14      A To serve the people of the county that             14 MR. WAIDE: (Continuing.)
15   you're in. I mean, to your best -- to the best          15    Q All right. Blake, do you know what happened
16   interest of them.                                       16 to Ms. Antrinet's phone during this incident?
17   MR. WAIDE: (Continuing.)                                17    A Do not.
18      Q Okay. Would you agree -- I mean, protecting        18    Q All right.
19   the public is, you know, one of your jobs in law        19    A I remember her being on it, but I don't -- I
20   enforcement?                                            20 don't remember what happened to it.
21      A I'll say protecting the public and also            21    Q Okay. What do you remember about her being
22   enforcing the laws.                                     22 on the phone?
23      Q Okay. And with the time -- you never went          23    A She was on the phone with someone. That's
24   on the porch, but when y'all first pulled up to the     24 about all I remember. As I was trying to arrest her.
25   house that day, you don't know how long the dog had     25    Q Now, at the time she was on the phone, how

                                                   Page 26                                                    Page 28

 1 been tied to the tree, right?                              1 much time, prior to her -- or you arresting her, when
 2    A I do not.                                             2 was the last time you had given her any verbal
 3    Q And you don't know whether or not the dog             3 command?
 4 had been fed that morning, correct?                        4    A I gave her verbal commands to put her hands
 5    A Correct. I don't.                                     5 behind her back, but --
 6    Q And you don't know whether or not the dog             6    Q That was while she was on the phone?
 7 had had any water that morning?                            7    A Yeah. While she was on the phone and I'm
 8    A I do not.                                             8 trying to arrest her. She knew I was trying to arrest
 9    Q Okay. And you were told, weren't you, that            9 her. I mean, I had one cuff on her.
10 the dogs had been fed, just not a lot of food. Is         10    Q I understand. But prior to you seeing her
11 that fair to say?                                         11 on the phone, when is the last time you had given her
12    A I don't remember me being told anything. I           12 a verbal command?
13 do remember Darious saying he had food in the house.      13    A Whenever I tased Darious. Before I tased
14 That's all I recall.                                      14 Darious, I told her to step back several times. And
15    Q Okay. Now, before y'all got to the --                15 then when I tased Darious, he fell, and then my
16 before Chey and Darious were on the porch, had anybody    16 attention went to her. She actually was on the phone
17 claimed ownership of the dogs?                            17 whenever I, like -- she made the call when I was
18    A I don't recall. No, I don't.                         18 trying to arrest her.
19    Q All right. Did you know who owned the dogs           19    Q Okay. Did she step back after you tased
20 when Chey and Darious were on the porch?                  20 Darious?
21    A I assume they did.                                   21    A No. She was still -- she was still in
22    Q I know you assume that, but did you know at          22 there.
23 that time who owned the dogs?                             23    Q And what was the weather like that day, do
24    A I did not know. I figured he was going in            24 you remember, that morning?
25 the house to get dog food for his dogs.                   25    A It's -- it was always a hot day, August,

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                                             AWREPORTING.COM
                                                                                                           Blake Smith

                                                   Page 29                                                     Page 31

 1   September, all of that. It is hot in those vests too,    1    A I did. I believe when I put it on the
 2   so...                                                    2 ground, I did. Yes.
 3      Q All right.                                          3    Q Okay. Did you ever pick it back up again?
 4            MR. WAIDE: That's all I have.                   4    A I believe I did whenever the dog -- one of
 5            MS. SMITH: Okay. I have a few                   5 the dogs was actually biting my pants leg, so I
 6   questions for you, Blake.                                6 believe I tried to dry stun it or scare it away at
 7             EXAMINATION                                    7 least.
 8   EXAMINATION BY MS. SMITH:                                8    Q Did you zap your taser a few times?
 9      Q Let's go back. You were conducting an               9    A I did. Yeah. Yes. Because I remember the
10   animal welfare check, correct?                          10 dog trying to bite me. I think Chey tried to help me
11      A Correct.                                           11 out there too. I don't -- I don't -- I don't remember
12      Q You were accompanying Chey on an animal            12 quite -- I believe so. Yeah, though, the --
13   welfare check?                                          13    Q Okay. And this was after the incident?
14      A Correct.                                           14    A This was me trying to arrest Ms. Leggett.
15      Q Okay. And when you got on the property, you        15    Q Okay. It was after you arrested
16   immediately saw the dog?                                16 Ms. Leggett?
17      A Correct.                                           17    A No. This was during the -- Ms. Leggett.
18      Q He was right next to your car?                     18    Q Okay. When Ms. Leggett tried to intervene,
19      A Not right next to my car, but I do remember        19 did she ever get physical?
20   getting out and seeing the dog. I actually saw the      20    A She did -- I wouldn't say she actually put
21   dog when we were pulling up. I mean, it was right       21 her hand -- but her body, you know, I remember her all
22   there.                                                  22 up on me, you know, trying -- Chey was trying to --
23      Q Did it look malnourished to you?                   23 and I was trying to protect Chey, of course, when he
24      A I -- yes. Yes. I felt, yes.                        24 was trying to arrest Mr. Leggett.
25      Q Did you see its bones sticking out?                25    Q Okay. Did she resist your arrest?

                                                   Page 30                                                     Page 32

 1    A Yes, ma'am. It was -- the ribs were                   1    A She did.
 2 definitely showing.                                        2    Q Okay. I wanted to introduce to you your
 3    Q Did they have any food or water -- did they           3 incident narrative, and it's on CLT Howard 6.
 4 have food or water bowls at all?                           4           MS. SMITH: Mary Lee, can you get that
 5    A I think they had them, but there was nothing          5 for me?
 6 in them.                                                   6 MS. SMITH: (Continuing.)
 7    Q Was there any shelter?                                7    Q Is this the narrative that you wrote
 8    A No, ma'am.                                            8 immediately after the arrests?
 9    Q Okay. And when you first made contact with            9    A Yes.
10 Darious and Selena and Ms. Leggett, did any of them       10    Q Okay. And this is your narrative?
11 ever ask you to leave the property?                       11    A Yeah. Yeah.
12    A I don't recall if they did or didn't. I              12    Q Would this be one of the better
13 mean, they -- I remember Darious saying he was going      13 recollections of what occurred?
14 to go show us the food.                                   14    A Yes, ma'am.
15    Q So none of them ever said, "We want you to           15    Q Okay. So look at four paragraphs down.
16 leave"?                                                   16    A One, two, three, four.
17    A I don't recall. No.                                  17    Q And what does that first line say?
18    Q Okay. Let's see. So did -- was there --              18    A "Mr. Leggett continued to be aggressive, at
19 would you think there was enough probable cause for       19 which point we attempted to arrest the subject, but he
20 you to suspect that there was negligent going on?         20 attempted to fight with deputies.
21    A I do.                                                21    Q Is that what you're referring to when he
22    Q Did you tase Ms. Leggett?                            22 swung at Chey?
23    A I did not.                                           23    A Correct. And that's when the mother,
24    Q Okay. Did you -- once you tased Darious,             24 Antrinet, was wedging herself in between the deputies.
25 did you ever remove your cartridge?                       25    Q So it is in your incident report?

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                                              AWREPORTING.COM
                                                                                                          Blake Smith

                                                  Page 33                                                     Page 35

 1            MR. WAIDE: Object to form.                     1    Q You referenced earlier or you were asked
 2 MS. SMITH: (Continuing.)                                  2 about probable cause for neglect. Had you had any
 3    Q It is in your incident report that the               3 training on what constitutes neglect in Mississippi?
 4 deputies were -- I'm sorry. Let me rephrase. It is        4    A During the academy, I did. I can't read off
 5 in your incident report that Mr. Leggett was physical     5 the laws specifically, but I mean, during the academy,
 6 with you?                                                 6 yes.
 7    A With -- yes, ma'am.                                  7    Q Okay. And just so I'm clear, at the time
 8    Q With the deputies, with you?                         8 you arrived, you don't know how long the dog had been
 9    A Yes, ma'am. Correct.                                 9 tied to the tree, right?
10    Q And then next it says, "Antrinet wedged             10    A I do not know that, no.
11 herself in between deputies and her son to prevent the   11    Q And you don't know how long the food bowl
12 arrest, and she disobeyed lawful orders."                12 had been empty, correct?
13    A Yes, ma'am, she did.                                13    A Correct.
14    Q "And continued to push and shove." Would            14    Q And did you have any information to say that
15 that be accurate?                                        15 anybody living in that house was intentionally
16    A Yes, ma'am.                                         16 withholding food from those animals?
17    Q Okay. And just really quick, I just want to         17    A I don't. The bones were showing, though.
18 go back. When you first entered the property, did        18    Q Okay. I understand that. Did you have any
19 Selena or Darious, did it seem like a consensual         19 information to show that anybody living in that house
20 encounter?                                               20 was maliciously abusing those animals?
21    A I mean, they -- yeah, I mean, they -- I             21    A I don't.
22 spoke to them like we were in high school still. I       22    Q Okay. Is there any other law that you've
23 mean, I'd never -- we never -- how do I say it? We --    23 been trained on that does not require malicious intent
24 I did not not get along with them.                       24 in order to be criminal?
25    Q And they agreed to show you the dog foods?          25    A I can't answer that. I don't know.

                                                  Page 34                                                     Page 36

 1      A Correct.                                           1     Q Okay.
 2      Q They never acted like they wanted you to           2            MR. WAIDE: That's all I have. Thank
 3   leave?                                                  3   you, Blake.
 4      A I mean, he was --                                  4            THE WITNESS: Thank you, sir.
 5      Q Not --                                             5           (WHEREUPON, THE DEPOSITION WAS
 6      A He was mad, but I mean, he never -- I mean,        6          CONCLUDED AT APPROXIMATELY 3:30 p.m.)
 7   he never not -- wasn't not going to show us the dog     7
 8   food.                                                   8
 9      Q Okay. And he -- and it wasn't until he --          9
10   okay.                                                  10
11              MS. SMITH: That's all I have.               11
12              MR. WAIDE: Have you got any questions?      12
13              MS. SMITH: She doesn't represent him.       13
14              MR. WAIDE: Oh, oh. I'm sorry. She           14
15   still represents Chey. She still has the ability to    15
16   ask --                                                 16
17              MS. SMITH: Oh, yeah. Oh, you're             17
18   right. Do you have any, Mary Lee?                      18
19              MS. HOLMES: I don't have any further        19
20   questions.                                             20
21              MS. SMITH: Okay.                            21
22              MR. WAIDE: I just have a couple of          22
23   follow up for you, Blake.                              23
24               EXAMINATION                                24
25   EXAMINATION BY MR. WAIDE:                              25


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                                            AWREPORTING.COM
                                                                                                         Blake Smith

                                                  Page 37                                                    Page 39
 1                                                           1                    CORRECTION SHEET
 2                   CERTIFICATE OF REPORTER
                                                             2
 3
                                                             3            I,________________________, do hereby
 4        I, AMANDA WOOTTON, Court Reporter and Notary
                                                             4 certify that the following corrections and additions
 5   Public for the State of Mississippi, do hereby certify
                                                             5 are true and accurate to the best of my knowledge and
 6   that the above and foregoing pages contain a full,
                                                             6 belief.
 7   true and correct transcript of the proceedings had in
                                                             7
 8   the aforenamed case at the time and place indicated,      CORRECTION           PAGE       LINE    REASON
                                                             8 ________________________________________________
 9   which proceedings were recorded by me to the best of
                                                             9 ________________________________________________
10   my skill and ability.
                                                            10 ________________________________________________
11        I also certify that I placed the witness under
                                                            11 ________________________________________________
12   oath to tell the truth and that all answers were given
                                                            12 ________________________________________________
13   under that oath.
                                                            13 ________________________________________________
14        I certify that I have no interest, monetary or
                                                            14 ________________________________________________
15   otherwise, in the outcome of this case.
                                                            15 ________________________________________________
16              This the 28th day of April 2020.
                                                            16 ________________________________________________
17                                                          17
18                                                          18
19                                                          19
20                                                                  Subscribed and sworn to before me
                                                            20 this the ______ day of _____________, 2020.
21                                                          21
22                            AMANDA M. WOOTTON             22
23   My Commission Expires:                                                            _________________________
     December 15, 2022                                      23
24                                                                                               Notary Public
                                                            24 My Commission Expires:
25                                                          25

                                                  Page 38
 1                 CERTIFICATE OF DEPONENT
 2
 3
 4           I,__________________________, do hereby
 5 certify that the foregoing testimony is true and
 6 accurate to the best of my knowledge and belief, as
 7 originally transcribed, or with the changes as noted
 8 on the attached Correction Sheet.
 9
10
11
12
13
14
15
16
17
18      Subscribed and sworn to before me
19 this the __________ day of ____________, 2020.
20
21                _______________________
22                    Notary Public
23
24 My Commission Expires:
25


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                                             AWREPORTING.COM
Selena Howard, et al. v                                                                                                Blake Smith
Forrest County, et al.

                             35:16,20                  4:15;10:24                18:24;30:25                24:21;30:9
           A              Antrinet (10)              behind (2)               cause (2)                   continued (2)
                             13:5,17;23:6,17,25;       15:23;28:5                30:19;35:2                 32:18;33:14
ability (1)                  24:10,14,21;32:24;      below (1)                certificate (1)             Continuing (4)
   34:15                     33:10                     12:16                     9:15                       25:17;27:14;32:6;
able (1)                  Antrinet's (1)             beside (1)               certified (2)                 33:2
   22:25                     27:16                     13:7                      8:24;19:15               County (11)
abuse (1)                 anymore     (1)            best (2)                 championship (1)              5:4,10,22;6:8,13;
   8:16                      4:13                      25:15,15                  6:14                       9:13;13:12,14;20:2;
abusing (1)               APPROXIMATELY (1)          better (1)               changed (1)                   25:11,14
   35:20                     36:6                      32:12                     4:16                     couple (3)
academy (15)              April (3)                  bit (2)                  check (4)                     11:7;27:9;34:22
   5:18,19,24,25;6:11;       5:17,20;6:4               6:5;21:3                  6:19;7:18;29:10,13       course (2)
   8:14,18,20;9:12;19:23; arm  (5)                   bite (1)                 checking (1)                  8:19;31:23
   20:1,4,17;35:4,5          21:24;22:2,5,5,6          31:10                     11:2                     court (5)
accompanying (1)          around (3)                 biting (1)               Chey (43)                     4:19;16:4,13;25:13;
   29:12                     11:2;14:4;15:18           31:5                      6:19,23;7:17;8:10,         27:11
accurate (1)              arrest  (17)               BLAKE (12)                  11;10:10,11;11:18,19;    criminal (1)
   33:15                     14:5;15:3;17:14,16;       4:2,10,11;16:2;17:4;      12:5,12,13;13:20;14:4;     35:24
acted (1)                   23:6,8,18;24:16;27:24;     21:1;25:7;27:5,15;        15:1,2,8,14,20;16:1;     cuff (1)
   34:2                     28:8,8,18;31:14,24,25;     29:6;34:23;36:3           17:4,13,19;18:12,14,       28:9
actual (1)                   32:19;33:12             body (2)                    16;21:19,19,21;22:1,5,   cuffs (2)
   21:16                  arrested (3)                 7:6;31:21                 6,15;23:3,8;26:16,20;      15:15,16
actually (24)                13:21;15:5;31:15        bones (2)                   29:12;31:10,22,23;       curious (1)
   6:23;9:18;15:10,19,    arresting   (2)              29:25;35:17               32:22;34:15                17:4
   22,25;17:15,19;18:25;     24:9;28:1               Both (3)                 Chey's (1)                  currently (1)
   19:4,24;20:5,8,9;21:8, arrests (1)                  9:14;12:6;20:1            7:14                       4:25
   12;23:7;24:1,6,24;        32:8                    bowl (1)                 Chris (2)                   cussing (2)
   28:16;29:20;31:5,20    arrived (1)                  35:11                     20:7,18                    14:18,21
additional (1)               35:8                    bowls (1)                claimed (1)
   9:6                    assist (2)                   30:4                      26:17                               D
affidavits (1)               6:24;13:21              bring (1)                clear (3)
   16:3                   Assisting (1)                12:9                      10:9;24:18;35:7          dad (1)
Ag (1)                       13:3                    brings (1)               clients (1)                   5:8
   13:14                  assume    (2)                14:2                      27:6                     dad's (1)
again (2)                    26:21,22                brought (2)              close (1)                     13:23
   10:25;31:3             attempted (4)                7:14;12:8                 18:19                    danger (1)
aggressive (3)               14:5;24:1;32:19,20      bucket (3)               CLT (1)                       11:4
   14:3;16:11;32:18       attention (2)                12:6,9;14:2               32:3                     Daniel (1)
ago (1)                      7:14;28:16              business (1)             College (2)                   4:17
   16:19                  audio   (1)                  5:7                       6:10,10                  Darious (50)
agree (1)                    25:12                                            coming (2)                    6:16,20;7:16;8:6,10,
   25:18                  August (2)                            C                10:19;15:19                23;11:15,18,19;12:5,8,
agreed (1)                   5:14;28:25                                       command (5)                   12,13;13:8;14:2,22;
   33:25                  away   (4)                 call (3)                    17:10,12;24:12;28:3,       15:11,21;16:12;17:1,8,
Agriculture (1)              12:18;17:22;18:16;        6:19,24;28:17             12                         16,20,23;18:10,17;
   6:8                       31:6                    came (2)                 commands (7)                  21:4,18,19,22;22:16,
aim (1)                                                6:21;11:14                15:22;16:16;17:7;          18,25;23:9,14;24:10,
   21:14                                B            Camp (1)                    23:11,14;24:13;28:4        16,19,25;26:13,16,20;
aiming (1)                                             6:2                    Community (1)                 28:13,14,15,20;30:10,
   20:22                  back (18)                  cams (2)                    6:10                       13,24;33:19
allegations (1)              7:4;11:18;15:23,24;       7:4,6                  CONCLUDED (1)               Darious' (2)
   22:10                     18:20;19:6;20:6;23:9,   can (5)                     36:6                       22:2,6
along (2)                    11;24:15,19;27:10;        15:17;20:23,23;        conduct (1)                 dash (1)
   6:24;33:24                28:5,14,19;29:9;31:3;     22:12;32:4                24:11                      7:4
altercations (1)             33:18                   car (5)                  conducting (1)              dated (1)
   16:1                   background (2)               7:1;10:10,14;29:18,       29:9                       13:10
always (3)                   5:12;6:6                  19                     consensual (1)              day (4)
   5:24;9:5;28:25         based   (1)                carry (1)                   33:19                      19:13;25:25;28:23,
animal (6)                   22:10                     21:16                  constitutes (2)               25
   6:19;8:14,16;9:7;      Bass (1)                   cars (1)                    8:16;35:3                days (1)
   29:10,12                  4:12                      7:4                    contact (5)                   13:8
animals (2)               begin (2)                  cartridge (2)               10:17;11:9;18:14;        definitely (1)

Min-U-Script®                                 AW REPORTING - 601-573-0961                                    (1) ability - definitely
                                                 AWREPORTING.COM
Selena Howard, et al. v                                                                                                   Blake Smith
Forrest County, et al.

  30:2                     earlier (1)                  29:5;31:8                  31:2                      information (5)
department (2)                35:1                   fight (2)                   guess (2)                     6:21,23;7:14;35:14,
  7:22,23                  educational (1)              23:7;32:20                 12:23;13:15                 19
deployed (10)                 6:6                    figured (1)                 guy (1)                     instance (1)
  15:11,13;16:15,25;       either (2)                   26:24                      4:15                        11:3
  17:8,18,23;19:10,12;        7:6;11:24              fire (1)                                                intent (1)
  21:7                     employed (2)                 19:4                                H                  35:23
deploying (1)                 5:1,8                  fired (1)                                               intentionally (1)
  17:5                     empty (1)                    19:6                     hand (2)                      35:15
deposition (2)                35:12                  first (11)                    15:18;31:21               interaction (1)
  4:20;36:5                encounter (1)                4:3;8:5;10:12,20;        handcuffs (4)                 11:16
deputies (5)                  33:20                     11:8;16:4,4;25:24;         17:19;23:24;24:3,8        interest (1)
  32:20,24;33:4,8,11       enforcement (7)              30:9;32:17;33:18         hands (2)                     25:16
deputy (1)                    5:1,13;8:14;24:12;     five (1)                      15:23;28:4                intervene (1)
  5:21                        25:8,9,20                 17:25                    happened (3)                  31:18
descriptive (1)            enforcing (1)             follow (1)                    22:21;27:15,20            introduce (1)
  15:17                       25:22                     34:23                    happening (3)                 32:2
different (1)              engaged (1)               follows (1)                   8:5;14:2;24:25            investigating (1)
  20:5                        21:12                     4:4                      happens (1)                   10:24
diploma (1)                enjoyable (2)             food (16)                     11:12                     investigation (1)
  6:9                         9:21,24                   8:9;11:19;12:6,8,9,9;    hear (1)                      8:11
discharged (4)             enough (1)                   14:2;26:10,13,25;30:3,     12:22                     involved (1)
  21:9;22:14,17;23:2          30:19                     4,14;34:8;35:11,16       heard (1)                     13:19
disobeyed (1)              entail (1)                foods (1)                     14:25
  33:12                       19:22                     33:25                    help (1)                               J
Disobeying (1)             entered (1)               football (1)                  31:10
  24:11                       33:18                     13:8                     herself (2)                 jail (1)
Disorderly (1)             entire (1)                form (1)                      32:24;33:11                  5:15
  24:11                       22:10                     33:1                     Hey (1)                     January (2)
dog (22)                   even (2)                  Forrest (9)                   10:6                         4:13;5:16
  6:25;8:7,8;10:12;           14:6;16:4                 5:4,10,22;6:8,13;        High (4)                    jobs (1)
  11:5,6,12,13,24;12:2;    EXAMINATION (3)              9:13;13:12,14;20:2         6:9;13:11,14;33:22           25:19
  25:25;26:3,6,25;29:16,      4:7;29:8;34:25         four (2)                    hired (1)                   June (5)
  20,21;31:4,10;33:25;     examined (1)                 32:15,16                   5:16                         5:17,19;6:4;8:25;9:6
  34:7;35:8                   4:4                    full-time (4)               hold (1)                    justice (3)
dogs (9)                   exited (1)                   5:16,20;8:24;19:15         21:7                         4:19;16:4,13
  6:22,25;26:10,17,19,        10:14                  fun (1)                     holding (1)
  23,25;27:1;31:5          experience (1)               10:6                       21:9                                 K
dog's (1)                     9:24                   further (1)                 HOLMES (1)
  6:25                                                  34:19                      34:19                     keep (1)
done (2)                              F                                          hot (2)                       23:9
  27:5,10                                                       G                  28:25;29:1                kind (3)
doorway (1)                facing (1)                                            house (17)                    6:20;9:4;11:22
  12:19                       22:18                  gas (1)                       6:20,22;7:10,12;          knew (3)
dot (2)                    fact (1)                     7:9                        8:23;10:9,17,24;11:3,6,     8:2;13:12;28:8
  20:21,22                    23:20                  gave (2)                      20;12:10;25:25;26:13,     known (1)
down (3)                   facts (1)                    17:10;28:4                 25;35:15,19                 13:17
  6:2;14:13;32:15             22:11                  girl (2)                    Howard (1)
drawn (1)                  fair (1)                     7:9,13                     32:3                                 L
  21:8                        26:11                  given (4)                   human (2)
drew (1)                   far (7)                      4:20;17:8;28:2,11          24:1;25:2                 large (1)
  21:17                       8:11;11:6;12:18;       giving (1)                                                 17:1
dry (2)                       14:11;17:22,24;18:16      15:22                                I               larger (3)
  19:1;31:6                fed (2)                   glitch (1)                                                 24:1;25:2,5
duly (1)                      26:4,10                   25:12                    immediately (2)             laser (1)
  4:3                      feet (3)                  goal (1)                      29:16;32:8                   20:21
during (10)                   12:20,21;17:25            25:9                     incident (9)                last (5)
  19:23;20:3,17,18;        fell (3)                  Graduated (3)                 16:3,9;20:7;27:16;           4:11;5:20;7:19;28:2,
  23:8;24:15;27:16;           22:23;25:4;28:15          6:8;7:16;8:25              31:13;32:3,25;33:3,5         11
  31:17;35:4,5             felt (1)                  graduating (1)              individual (1)              law (9)
                              29:24                     5:19                       17:2                         5:1,13;8:14,16;
           E               few (6)                   ground (5)                  individuals (1)                24:11;25:8,9,19;35:22
                              9:2;11:18;12:20,21;       22:23;23:4,22;25:4;        20:5                      lawful (1)

Min-U-Script®                                  AW REPORTING - 601-573-0961                                    (2) department - lawful
                                                  AWREPORTING.COM
Selena Howard, et al. v                                                                                                 Blake Smith
Forrest County, et al.

   33:12                   Mary (2)                   new (1)                                                 29:15;30:11;33:18
lawn (2)                     32:4;34:18                 20:24                               P               protect (1)
   23:19,20                may (1)                    next (3)                                                31:23
laws (2)                     7:22                       29:18,19;33:10           pants (1)                  protecting (2)
   25:22;35:5              maybe (1)                  nobody (1)                   31:5                       25:18,21
lead (1)                     7:11                       15:4                     paragraphs (1)             proximity (1)
   10:10                   mean (25)                  none (4)                     32:15                      18:19
learn (2)                    7:24;9:25;12:20,21;        7:4,5;20:18;30:15        part (6)                   public (2)
   20:6,9                    18:18;19:3,13,25;20:9;   number (2)                   9:19,22,25;10:3;           25:19,21
least (1)                    21:23;22:6,19;25:8,15,     7:25;25:9                  20:16;22:11              pull (1)
   31:7                      18;28:9;29:21;30:13;                                part-time (2)                18:25
leave (3)                    33:21,21,23;34:4,6,6;               O                 5:2,10                   pulled (7)
   30:11,16;34:3             35:5                                                passed (2)                   8:5;18:20,23;21:11,
Lee (2)                    met (1)                    oath (3)                     7:8;19:5                   15,17;25:24
   32:4;34:18                4:18                        4:4,19,23               patrol (3)                 pulling (3)
left (2)                   middle (3)                 obey (1)                     5:19,21;10:14              10:9,15;29:21
   22:5,6                    15:21;23:7;24:25            24:14                   Pearl (1)                  push (3)
leg (1)                    miles (1)                  Object (1)                   6:10                       15:20;25:1;33:14
   31:5                      7:11                        33:1                    people (2)                 pushed (3)
Leggett (13)               mind (1)                   obviously (2)                25:11,14                   24:24,24;25:3
   13:5,17;23:6;24:16;       7:23                        4:22;22:9               person (1)                 pushing (1)
   30:10,22;31:14,16,17,   minute (1)                 occurred (1)                 11:8                       23:8
   18,24;32:18;33:5          27:4                        32:13                   phone (9)                  put (9)
less (1)                   Mississippi (2)            off (11)                     24:6;27:16,22,23,25;       15:15,16,23;17:19;
   18:5                      8:17;35:3                   10:15;11:25;12:2;         28:6,7,11,16               20:6;24:7;28:4;31:1,20
line (1)                   mistaken (3)                  14:8,9;19:1;20:24;      physical (3)
   32:17                     13:7;21:24;24:7             23:19;25:1;27:8;35:4      16:1;31:19;33:5                     Q
little (3)                 mom (1)                    offhand (1)                pick (1)
   6:5;15:17;21:3            11:15                       18:3                      31:3                     quick (3)
live (2)                   month (1)                  officer (5)                place (3)                    15:25;27:6;33:17
   6:20;8:6                  13:20                       5:2,17;8:24;19:15;        17:15;23:5,17            quite (2)
living (2)                 months (2)                    25:10                   placed (1)                   24:2;31:12
   35:15,19                  9:2;19:14                once (3)                     23:24
loaded (1)                 more (4)                      4:18;11:12;30:24        please (2)                            R
   18:24                     13:15;15:17;18:5;        one (12)                     4:9;6:7
long (8)                     27:9                        6:2;11:24;15:10;        pm (1)                     read (1)
   6:3;7:12;8:23;21:7,     morning (3)                   17:19;20:24;21:23;        36:6                       35:4
   9;25:25;35:8,11           26:4,7;28:24                25:9,19;28:9;31:4;      point (5)                  real (1)
look (2)                   most (1)                      32:12,16                  9:9;11:24;12:7;            27:6
   29:23;32:15               22:9                     onto (2)                     21:16;32:19              really (2)
looking (2)                mother (2)                    8:5;14:12               police (1)                   10:20;33:17
   11:1,11                   15:19;32:23              opinion (1)                  6:1                      reason (3)
lot (2)                    motion (1)                    8:8                     porch (11)                   16:6,9,12
   8:21;26:10                15:25                    option (1)                   12:6,11,15,21,25;        recall (19)
                           mower (2)                     20:24                     14:8,9,12;25:24;26:16,     10:18,20;11:10;12:4;
           M                 23:20,21                 order (1)                    20                         13:6;14:20;15:9;17:1,
                           much (4)                      35:24                   prevent (1)                  6,6;22:7,24;23:1,15;
ma'am (7)                    7:8;19:5;21:6;28:1       orders (1)                   33:11                      26:14,18;27:2;30:12,
 30:1,8;32:14;33:7,9,      muted (1)                     33:12                   previously (3)               17
 13,16                       27:13                    out (19)                     19:10,12,18              received (1)
mad (1)                    myself (1)                    8:10;10:19;11:11,12,    primary (1)                  6:19
 34:6                        23:8                        14,16;12:8,10;14:2;       25:8                     recollections (1)
malicious (1)                                            18:21,23,25;20:6;       prior (5)                    32:13
 35:23                                N                  21:11,15,17;29:20,25;     13:20;17:5;18:10;        record (2)
maliciously (1)                                          31:11                     28:1,10                    4:8;27:8
 35:20                     name (4)                   over (2)                   probable (2)               red (2)
malnourished (2)             4:8,11,17;7:19              12:16;15:19               30:19;35:2                 20:21,22
 8:7;29:23                 narrative (3)              own (1)                    procedure (2)              referenced (1)
man (1)                      32:3,7,10                   7:1                       10:22;11:1                 35:1
 7:25                      neglect (2)                owned (3)                  proper (2)                 referring (1)
many (8)                     35:2,3                      26:19,23;27:1             10:22;11:1                 32:21
 19:9,15,19;20:12,13,      negligent (1)              ownership (1)              property (6)               regarding (1)
 14,15;22:11                 30:20                       26:17                     8:5;10:24;11:2;            6:21

Min-U-Script®                                  AW REPORTING - 601-573-0961                                      (3) lawn - regarding
                                                  AWREPORTING.COM
Selena Howard, et al. v                                                                                                  Blake Smith
Forrest County, et al.

related (1)                 R-Y-A-L-S (1)                 20:21                     4:14;9:5;10:8,23;           19;32:16
   8:2                        7:20                     skimpy (1)                   15:3;22:9,11             threw (1)
remember (36)                                             17:3                    suspect (3)                   23:4
   8:4,19,21;10:19;                    S               skinny (1)                   19:16,18;30:20           throughout (1)
   11:8,16,17,18;12:4;                                    8:8                     swing (1)                     13:10
   14:1,4,7,7,8,14;15:19,   same (2)                   SMITH (12)                   18:11                    tied (3)
   21;16:7,8,21,23;22:4;       6:16;20:7                  4:2,10;27:12;29:5,8;    swinging (3)                  8:7;26:1;35:9
   23:20;24:24;26:12,13;    saw (3)                       32:4,6;33:2;34:11,13,     15:22;16:5,13            times (13)
   27:19,20,21,24;28:24;       8:7;29:16,20               17,21                   switch (2)                    17:11;19:9,15,20;
   29:19;30:13;31:9,11,     saying (6)                 somebody (3)                 19:3,4                      20:12,15,19;23:12;
   21                          12:22;14:19;21:13;         10:5;11:3;24:6          sworn (1)                     24:4,15;25:1;28:14;
remove (1)                     24:13;26:13;30:13       someone (2)                  4:3                         31:8
   30:25                    scare (1)                     16:24;27:23             swung (6)                  told (4)
rephrase (1)                   31:6                    son (1)                      18:11,17;21:18,19,          24:15;26:9,12;28:14
   33:4                     School (5)                    33:11                     22;32:22                 took (1)
report (7)                     6:9;7:15;13:11,14;      sorry (2)                                                24:3
   16:10;17:25;18:2;           33:22                      33:4;34:14                           T             touching (1)
   20:7;32:25;33:3,5        seconds (2)                sound (2)                                                18:18
REPORTER (2)                   19:8;21:11                 18:1,4                  talk (2)                   tow (3)
   25:13;27:11              seeing (2)                 specific (1)                  16:12;27:5                 5:6;13:22,23
reports (1)                    28:10;29:20                13:15                   talked (1)                 towards (4)
   16:3                     seem (1)                   specifically (1)              7:9                        14:23;15:1,2,7
represent (1)                  33:19                      35:5                    talking (1)                to-wit (1)
   34:13                    Selena (10)                spelled (1)                   14:17                      4:5
represents (1)                 6:20;8:6,23;11:15;         7:17                    tall (1)                   trained (6)
   34:15                       12:17;13:4,6,9;30:10;   spells (1)                    21:1                       9:16;16:17,20;18:7;
require (1)                    33:19                      7:18                    tase (2)                      19:24;35:23
   35:23                    Selman (2)                 spoke (1)                     10:6;30:22              training (16)
required (1)                   20:8,18                    33:22                   tased (15)                    6:1;8:15;9:7,10,19,
   10:22                    September (3)              standing (4)                  9:19;10:2,3;15:24;         22,25;10:4;19:21,23,
reserve (2)                    8:25;9:6;29:1              13:7;22:15;23:22,23        20:5,8;21:21;23:14;        23;20:1,12,16,18;35:3
   5:3,14                   serve (3)                  started (3)                   24:10,19;28:13,13,15, tree (8)
resist (1)                     25:11,12,14                5:15,18;8:11               19;30:24                   8:7;10:13,15,16;
   31:25                    several (7)                state (1)                  taser (33)                    11:25;12:3;26:1;35:9
resistant (1)                  17:11;20:4;23:12;          6:13                       9:10,16;15:11,14;       tried (6)
   16:25                       24:3,15;25:1;28:14      station (1)                   16:15,25;17:8,19,23;       16:24;17:15;23:9;
resisting (1)               Shelby (1)                    7:10                       18:8,21,23;19:1,2,7,10,    31:6,10,18
   17:9                        6:2                     step (6)                      12,16,21,25;20:10,13, truck (3)
resistive (1)               shelter (1)                   12:20;23:11;24:15,         16;21:7,8,9,14;22:14,      5:7;13:22,23
   14:10                       30:7                       19;28:14,19                17,22;23:2,3;31:8       true (1)
ribs (1)                    sheriff's (1)              stepped (3)                tasered (1)                   10:21
   30:1                        7:22                       15:24;18:20;19:6           22:25                   try (2)
right (67)                  shoot (3)                  steps (1)                  tasers (1)                    17:5;25:1
   4:11,15,17,22,23,25;        20:10,15,17                12:16                      20:20                   Trying (18)
   5:6,12;6:12,14,18;7:3,   shorter (1)                sticking (1)               tasing (1)                    15:15,16,18,20,25;
   4,6,6,8,13;8:4;9:4,10,      21:3                       29:25                      22:10                      17:14;23:8;24:7;27:24;
   15,19,24;10:8,12,16,     shot (4)                   still (8)                  teach (1)                     28:8,8,18;31:10,14,22,
   21;11:4,5,23;12:11,14;      20:18;21:17;22:19,         5:4;21:23;27:12;           8:13                       22,23,24
   13:4,7;14:1;15:13;          21                         28:21,21;33:22;34:15,   team (1)                   turn (1)
   17:7,20,22;18:1,2,4,8,   shots (1)                     15                         6:16                       14:4
   10,16;19:9;20:10;21:4,      20:13                   stood (1)                  techniques (2)             turning (1)
  6,25;22:5,6,8,16;23:13;   shove (1)                     13:22                      16:24;17:5                 5:15
   24:5;25:7;26:1,19;          33:14                   stop (3)                   telling (1)                two (5)
   27:15,18;29:3,18,19,     show (5)                      13:19;15:23;17:9           17:13                      7:11,25;16:18;20:19;
   21;34:18;35:9               11:19;30:14;33:25;      straight (1)               testified (3)                 32:16
River (1)                      34:7;35:19                 7:12                       4:4,23;16:13
   6:10                     showing (3)                stun (1)                   though (5)                             U
road (1)                       11:19;30:2;35:17           31:6                       9:10;10:22;17:5;
   7:11                     side (3)                   subject (1)                   31:12;35:17             under (6)
roughly (1)                    21:15,16;23:19             32:19                   threats (3)                   4:4,19,23;17:16;
   12:18                    simply (1)                 Sumrall (2)                   14:23,25;15:7              23:6,17
Ryals (1)                      24:2                       13:20;16:23             three (5)                  up (15)
   7:21                     site (1)                   sure (7)                      16:18;19:14;20:19,         5:20;7:11;10:9,15;

Min-U-Script®                                    AW REPORTING - 601-573-0961                                           (4) related - up
                                                    AWREPORTING.COM
Selena Howard, et al. v                                                      Blake Smith
Forrest County, et al.

  12:11,20;14:6,12;        WHEREUPON (1)                21:2
  23:22,23;25:24;29:21;      36:5
  31:3,22;34:23            withholding (1)                      6
use (3)                      35:16
  15:25;18:7;19:16         without (1)                6 (1)
used (1)                     11:2                        32:3
  19:18                    WITNESS (2)
                             27:7;36:4
           V               won (1)
                             6:13
verbal (9)                 working (1)
  14:11,17;15:22;17:7;       5:15
  23:11,13;28:2,4,12       works (1)
vests (1)                    7:21
  29:1                     wrong (1)
video (2)                    7:22
  20:3,4                   wrote (1)
violations (1)               32:7
  8:16
                                       Y
           W
                           y'all (13)
WAIDE (13)                   6:13,18;7:9,10;8:5,
  4:7,17;25:17;27:4,9,       22;10:9,16,23;11:9,12;
  14;29:4;33:1;34:12,14,     25:24;26:15
  22,25;36:2               yards (1)
Wait (1)                     11:7
  21:23                    years (3)
walk (1)                     11:18;16:18,18
  22:25                    Yelling (2)
wants (1)                    14:18,21
  15:4                     young (1)
warnings (1)                 7:13
  16:16
warrants (1)                           Z
  5:17
watch (1)                  zap (1)
  20:3                       31:8
watched (1)
  20:4                                 1
Watching (1)
  13:1                     15th (1)
water (4)                    5:19
  8:9;26:7;30:3,4
way (1)                                2
  5:20
weather (1)                2014 (1)
  28:23                      6:9
wedged (1)                 2016 (1)
  33:10                      5:14
wedging (1)                2017 (2)
  32:24                      5:16,18
welfare (5)                21 (1)
  6:25;8:15;9:7;29:10,       5:15
  13
well-being (1)                         3
  6:25
weren't (1)                3:30 (1)
  26:9                       36:6
what's (1)
  25:9                                 5
whenever (4)
  6:18;28:13,17;31:4       5'6 (1)

Min-U-Script®                                  AW REPORTING - 601-573-0961     (5) use - 6
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